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                                      IN THE
                           UNITED STATES DISTRICT COURT
                                     FOR THE
                           WESTERN DISTRICT OF VIRGINIA




  ELIZABETH SINES                                        NOTICE
                                                         CASE NO.: 3:17CV00072
               v.

  JASON KESSLER, ET AL

  ______________________________________________________________________________

  TYPE OF CASE:
                          X CIVIL                  CRIMINAL
  ______________________________________________________________________________

  TYPE OF PROCEEDING:
                                  CONFERENCE CALL
  with plaintiff’s counsel and Mr. Kline re: compliance with court’s order entered on July 3,
  2019 at ECF #516, including that Mr. Kline appear for a deposition
  ______________________________________________________________________________

  X   TAKE NOTICE that the proceeding in this case has been SCHEDULED as
      indicated below:
  ______________________________________________________________________________

  DATE:     August 8, 2019
  TIME:     3:30 P.M.

  DIAL IN NUMBER: _______________________________, CONFERENCE ID: _________

  *Please do not dial in more than 10 minutes prior to scheduled call
  _____________________________________________________________________________


                                                  JULIA C. DUDLEY, CLERK OF COURT

  DATE: August 7, 2019                            By: s/ Karen Dotson
                                                  DEPUTY CLERK


  To:   Hon. Moon
        Hon. Hoppe
        All counsel of record
        Mr. Kline
        File
